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                                   1:19-cv-05523-SDG
               Berkeley Ventures II, LLC v. Sionic Mobile Corporation et al
                             Honorable Steven D. Grimberg

                   Minute Sheet for proceedings held In Open Court on 11/20/2020.


    TIME COURT COMMENCED: 10:05 A.M.
    TIME COURT CONCLUDED: 11:10 A.M.                COURT REPORTER: Alicia Bagley
    TIME IN COURT: 1:05                             DEPUTY CLERK: Alisha Holland
    OFFICE LOCATION: Atlanta

ATTORNEY(S)          Richard Baker representing Sionic Mobile Corporation
PRESENT:             Bryan Busch representing Berkeley Ventures II, LLC
                     Simon Jenner representing Sionic Mobile Corporation
                     Michelle Johnson representing Patrick Gahan
PROCEEDING
                     Motion Hearing (Motion Hearing Non-evidentiary);
CATEGORY:
MOTIONS RULED        [40] Motion for Reconsideration TAKEN UNDER ADVISEMENT
ON:                  [50] Motion for Sanctions TAKEN UNDER ADVISEMENT
                     [51] Motion to Disqualify Attorney TAKEN UNDER ADVISEMENT
                     [52] Motion to Stay GRANTED
                     [54] Motion to Intervene TAKEN UNDER ADVISEMENT

MINUTE TEXT:         Oral Argument held on Defendant's Motion for Reconsideration [ECF 40],
                     Motion for Sanctions [ECF 50], Motion to Disqualify [ECF 51], and
                     Emergency Motion to Stay [ECF 52]. The Court also heard argument on
                     the Motion to Intervene [ECF 54]. After hearing from both parties, as well
                     as from proposed intervenor, the Court GRANTED Defendant's motion to
                     stay. The remaining motions [ECF 40, 50, 51, and 54] are taken under
                     advisement.
HEARING STATUS:      Hearing Concluded
